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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR05-260-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   PEGGY LEE WHITE,                     )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on December 15, 2006. The United States was represented by AUSA Todd Greenberg and

16 the defendant by Robert M. Leen. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about May 5, 2006 by the Honorable Robert S.

18 Lasnik on a charge of Interstate Transportation in Furtherance of Prostitution, and sentenced to

19 217 days custody (time served), three years supervised release.

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in a substance abuse program, abstain from alcohol, submit to search,

22 participate in a mental health program, provide access to financial information, not be self-

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 employed or employed by friends, get approval for all employment, not work for cash, provide

02 regular pay stubs to probation officer, and not possess any false identification documents. (Dkt.

03 118, 119).

04          On August 18, 2006, defendant admitted to violating the conditions of supervised release

05 by failing to participate in and complete drug dependency treatment, failing to participate in and

06 complete mental health treatment, and failing to notify her probation officer of a change in

07 residence. (Dkt. 143.) Defendant was sentenced to four months in custody and the conditions of

08 supervised release were re-imposed. She was also ordered to participate in a community

09 corrections center program for up to 120 days. (Dkt. 149).

10          In an application dated October 30, 2006 (Dkt. 150, 151), U.S. Probation Officer

11 Assistant Brieanne E. Olsen alleged the following violations of the conditions of probation:

12          1.      Failing to successfully participate and complete a community corrections center

13 and/or comprehensive sanction center program in violation of special condition number five.

14          2.      Providing false information to Seattle Police Officers on October 30, 2006 in

15 violation of the general condition to obey all local, state and federal laws.

16          Defendant was advised in full as to those charges and as to her constitutional rights.

17          Defendant admitted alleged violations and waived any evidentiary hearing as to whether

18 they occurred.

19          I therefore recommend the Court find defendant violated her supervised release as alleged

20 in violations 1 and 2, and that the Court conduct a hearing limited to the issue of disposition. The

21 next hearing will be set before Judge Lasnik.

22 / / /

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01          Pending a final determination by the Court, defendant has been detained.

02          DATED this 15th day of December, 2006.



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04                                               Mary Alice Theiler
                                                 United States Magistrate Judge
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     cc:    District Judge:               Honorable Robert S. Lasnik
07          AUSA:                         Todd Greenberg
            Defendant’s attorney:         Robert M. Leen
08          Probation officer:            Brieanne E. Olsen

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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